         Case 3:20-cv-00133-JCH Document 224 Filed 01/07/21 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     :
JAKUB MADEJ                                          :
                                                     :       CIVIL ACTION NO.
                      PLAINTIFF                      :       3:20-cv-00133-JCH
                                                     :
v.                                                   :
                                                     :
YALE UNIVERSITY, MARVIN CHUN,                        :
MARK SCHENKER, PETER SALOVEY AND                     :
JESSIE ROYCE HILL                                    :
                                                     :
                      DEFENDANTS                     :
                                                     :       JANUARY 7, 2021

                  MOTION TO QUASH NOTICE OF DEPOSITION AND
                       MOTION FOR PROTECTIVE ORDER

       Despite the noticing of Dean Schenker’s deposition for January 21, 2021 and defense

counsel repeatedly informing the plaintiff that Yale University has designated Dean Schenker as

its representative for purposes of the Rule 30(b)(6) Notice of Deposition, the plaintiff will not

agree to cancel the January 25, 2021 deposition of a representative of Yale University. Therefore,

the defendants, Yale University and Mark Schenker, hereby move to quash the January 3, 2020

notice of deposition for a representative of Yale University and for a protective order preventing

the plaintiff from deposing Dean Schenker more than once.

       On January 3, 2020, the plaintiff issued notices of deposition for Dean Schenker and a

representative of Yale University to occur on January 21, 2021 and January 25, 2021, respectively.

(ECF No. 220.) In the Rule 30(b)(6) Notice of Deposition, the plaintiff asked Yale University to

“identify, designate, and produce for deposition one or more officers, directors, managing agents

or other person(s) most knowledgeable to testify on its behalf” regarding the following topics: (1)

“Yale’s policies, procedures, and practices related to voluntary and involuntary withdrawals of
             Case 3:20-cv-00133-JCH Document 224 Filed 01/07/21 Page 2 of 5




undergraduate students from Yale College from 2013 to the present;” (2) “Yale College’s 2015

reforms of withdrawal and reinstatement policies, procedures, and practices;” and (3) “The

administrative oversight over Committee on Honors and Academic Standing at Yale College.”

(ECF No. 220-3, p. 3.) On January 5, 2020, defense counsel informed the plaintiff, as he had in

several previous communications, that Dean Schenker was the person who has the most

information on the topics listed in the notice of deposition. 1 Since the plaintiff could ask Dean

Schenker about the subjects listed in the Rule 30(b)(6) Notice of Deposition during the January

21, 2021 deposition, there was no need to schedule a separate deposition for a “representative of

Yale University” four days later.2 The plaintiff responded in a letter dated January 5, 2020 and e-

mailed to defense counsel shortly after noon on January 6, 2020:

                    I disagree with your objection against holding a routine Rule 30(b)(6)
                    deposition of Yale University on the grounds that the to-be representative
                    of Yale might be Mr. Schenker, who will be deposed separately in his
                    individual capacity as a named defendant. Plaintiff needs sworn testimony
                    that will bind Yale. The University is a separate defendant in this case, and
                    the operative complaint alleges substantive claims against it. Mr. Schenker
                    can only testify on his own behalf, and his testimony will bind only him.
                    Yale must officially designate a suitable corporate representative (“an
                    officer”) to testify on its behalf. Only that person’s testimony can bind the
                    University.3

In support of the foregoing argument, the plaintiff cites Dominion Res. Servs., Inc. v. Alstom

Power, Inc., 2017 U.S. Dist. LEXIS 132212 n. 6 (August 18, 2017), wherein Judge Merriam

explained: “The Court reminds the parties that the testimony provided by a corporate

representative at a Rule 30(b)(6) deposition binds the corporation. This is quite unlike a deposition



1
 Defense counsel has informed the plaintiff of this fact in several e-mails and court pleadings, beginning on December
7, 2020.

2
    A copy of the January 5, 2021 e-mail is attached hereto as Exhibit A.

3
    A copy of the January 5, 2021 letter is attached hereto as Exhibit B.


                                                             2
           Case 3:20-cv-00133-JCH Document 224 Filed 01/07/21 Page 3 of 5




of an employee of the corporation, which is little more than that individual employee’s view of the

case and is not binding on the corporation.” (Internal citations omitted.) The defendants certainly

do not disagree with Judge Merriam’s observation. However, it is inapplicable in this case

because, unlike the witness in question in Dominion Res. Servs., Inc., Dean Schenker has been

identified as Yale University’s representative for the Rule 30(b)(6) deposition. Thus, his testimony

on the topics listed in the Rule 30(b)(6) Notice of Deposition would be binding on Yale University.

         Contrary to the plaintiff’s contention, Yale University is not limited to designating an

“officer” of Yale University as the deponent in response to a Rule 30(b)(6) Notice of Deposition.

Rather, Yale University may “designate one or more officers, directors, or managing agents, or

designate other persons who consent to testify on its behalf.” (Emphasis added.) Fed. R. Civ. P.

30(b)(6). As the longtime Chair of the Committee on Honors and Academic Standing, Dean

Schenker is the person who is most knowledgeable on the topics listed in the Rule 30(b)(6) Notice

of Deposition. Since Yale University has designated Dean Schenker as its representative to testify

regarding the topics listed in the Rule 30(b)(6) Notice of Deposition, Dean Schenker’s testimony

on those subjects constitutes the testimony of Yale University. 4 It would be an unnecessary waste

of time and expense to require Dean Schenker to submit to a deposition on January 21, 2021 to

testify in his individual capacity and then to submit to a second deposition four days later to testify

as the representative of Yale University.

         Agence Fr. Presse v. Morel, 2011 U.S. Dist. LEXIS 126027 (S.D.N.Y. October 28, 2011),

is instructive. In that case, the plaintiff, Agence France Presse (“AFP”) moved for a protective

order to prevent the counterclaim plaintiff, Daniel Morel, from taking excessive and unnecessary



4
 Defense counsel explained the foregoing to the plaintiff in an e-mail on January 6, 2021, a copy of which is attached
hereto as Exhibit C.


                                                          3
         Case 3:20-cv-00133-JCH Document 224 Filed 01/07/21 Page 4 of 5




Rule 30(b)(6) depositions of AFP employees and representatives. Id. at *4. Addressing AFP’s

motion, the court considered whether Mr. Morel could depose two AFP employees twice, once in

their individual capacities and then again as Rule 30(b)(6) witnesses. Id. at *6. The issue arose

because Mr. Morel had already deposed the witnesses individually and later sought Rule 30(b)(6)

testimony on an array of issues on which the witnesses had already testified. AFP advised that, if

required to produce Rule 30(b)(6) witnesses on the topics, they would designate the two witnesses

who had already been deposed. The court “decline[d] to require such a wasteful procedure.” In

lieu of the duplication effort, the court adopted AFP’s suggestion that the deposition testimony

previously provided by the two witnesses in their individual capacities be deemed to constitute the

Rule 30(b)(6) testimony of AFP and hence binding on the company. Id. at *6-7.

       In the present action, Yale University identified Dean Schenker as its representative well

in advance of the depositions of both Dean Schenker and the representative of Yale University.

Thus, the plaintiff can question Dean Schenker on the topics listed in the Rule 30(b)(6) Notice of

Deposition at the same time as he questions Dean Schenker on other subjects. Dean Schenker

should not be required to submit to a deposition twice in the span of four days when the plaintiff

has had ample notice that Dean Schenker is the person who is most knowledgeable on the topics

to be covered at the Rule 30(b)(6) deposition of Yale University. Therefore, the defendants seek

an order quashing the Rule 30(b)(6) Notice of Deposition and protecting Dean Schenker from

being deposed on more than one occasion.




                                                4
         Case 3:20-cv-00133-JCH Document 224 Filed 01/07/21 Page 5 of 5




                                              THE DEFENDANTS,

                                              YALE UNIVERSITY AND MARK SCHENKER


                                          By: /s/ Patrick M. Noonan_______________
                                             PATRICK M. NOONAN – CT00189
                                             COLLEEN NOONAN DAVIS – CT27773
                                             DONAHUE, DURHAM & NOONAN, P.C.
                                             Concept Park
                                             741 Boston Post Road, Suite 306
                                             Guilford, CT 06437
                                             Telephone: (203) 458-9168
                                             Fax: (203) 458-4424
                                             Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




                                                 5
